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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

SUNIL BHATIA, individually and
derivatively on behalf of MEDVALUE
OFFSHORE SOLUTIONS, INC.,

Plaintiff,

V.

RAJU VASWANI, an individual, KARAN
VASWANI, an individual, MV OUTSOURCING,

INC., an Illinois Corporation, Case Number: l:lS-cv-23 86

Hon. Robert M. DOW, Jr., Presiding
Defendants.

 

RAJU VASWANI, individually and
derivativer on behalf of MEDVALUE
OFFSHORE SOLUTIONS, INC.,

An Illinois Corporation

Counter-plaintiff and
Third-party Plaintiff,

v.

SUNIL BHATIA, an individual,
Counter-defendant,

And

VARSHA BHATIA, an individual

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Third-party Defendant

RESPONSE TO VARSHA BHATIA’S MOTION TO DISMISS
COUNTERCLAIM AND THIRD PARTY COMPLAINT

Raju Vaswani (hereinafter “Vaswani”), individually and derivatively on behalf of
Medvalue Offshore Solutions, Inc. (hereinafter “Medvalue”) by and through his undersigned

counsel, for his Response to Motion to Dismiss Counterclaim against Sunil Bhatia (hereinafter

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“Bhatia”) and his third-party complaint against Varsha Bhatia (hereinafter “V. Bhatia”), states as
follows:
I. FACTS ALLEGED BY VASWANI

Vaswani’s Counterclaim and Third Party Complaint alleges, inter alia, that Bhatia, “in
concert and conspiracy With V. Bhatia” has used equipment and accounts belonging to
Medvalue, for the purpose of a real estate business that Bhatia and V. Bhatia operate together.
Cnterclm. at 11117-21. Vaswani identifies six (6) items of property and accounts that are in the
possession of Bhatia and V. Bhatia (Id. at 1]17); he alleges that Bhatia and V. Bhatia are in
business together in the real estate field (Id. at 1120); and he alleges that Bhatia and V. Bhatia
together have used the business assets of Medvalue in their real estate business (Id. at 21).

In Count I, Vaswani alleges a claim for breach of` fiduciary duty, and While Vaswani does
not claim that V. Bhatia owes any fiduciary duty, he seeks a constructive trust over the assets of
Bhatia and V. Bhatia. (Count I, Prayer for Relief, 1]C). He alleges in Paragraph 31 of that Count
that V. Bhatia has knowingly received the benefits of` the property identified above, and has
received profits from the real estate business conducted using Medvalue’s business property.

In Count II, Vaswani alleges a civil conspiracy claim against Bhatia and V. Bhatia, based
upon his allegation that they entered into an agreement in 2011 to use the business assets of
Medvalue for the purpose of their real estate business. Count II at 1132. He alleges that they both
engaged in one or more overt acts in furtherance of the conspiracy, consisting of the operation of
the real estate business. Ia'. at 1133. Among other relief`, in this count as Well, he seeks imposition

of` a constructive trust. Id., Prayer for Relief at 1IC.

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II. LAW AND ARGUMENT

A. Count I of the Third-Party Complaint Properly Pleads
a Claim for Constructive Trust

A constructive trust is an equitable remedy, which may be imposed Where the person in
possession of the property would be unjustly enriched if he or she were permitted to retain that
property. Blumenthal v. Brewer, 2016 IL 118781, 1[ 47, 69 N.E.Sd 834, 848, reh'g denied (Oct.
20, 2016). Wrongdoing is not always necessary, and a constructive trust may be imposed even
where the person who received the money acted in good faith or is innocent of the wrongdoing
Chicago Title Ins. Co. v. Sz'nikovic, 125 F. Supp. 3d 769, 780 (N.D. Ill. 2015), citing Smithberg v.
Ill. Mun. Ret. Funa', 735 N.E.2d 560, 566, 192 Ill.2d 291, 248 Ill.Dec. 909 (2000).

Sz'nikovik, supra, is instructive ln that case the primary defendant was an individual Who
used his position as a mechanics lien administrator to misappropriate construction escrow funds
by paying them to a business partly owned by his wife, and to associates who had performed no
work on the construction projects at issue. The associates testified that the wrongdoer had told
them that the source of the fitnds was his father’s investments and that he was running the hinds
through their businesses to obtain better tax treatment. As noted above, the court found that
“wrongdoing is not always necessary” to impose a constructive trust, and granted summary
judgment in favor of Chicago Title on portions of its constructive trust claims. Id.

In this case, Varhsa does not challenge Medvalue’s allegations that she received the funds
from Sunil’s wrongdoing, rather, she only argues that since she did not owe fiduciary duties to
Medvalue she cannot be a party to Count I. She misunderstands that under the holding in
Sinikovik, supra, and the cases cited therein, it does not matter whether she individually owed
such duties - a constructive trust can be imposed based upon her receipt of the misappropriated

funds.

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B. Count II of the Third-Party Complaint Properly
Pleads a Claim for Conspiracy

Similar to her argument that she must be dismissed from Count I, Varsha argues that she
must be dismissed from Count II on the grounds that she does not owe fiduciary duties to
Medvalue. Here again, Varsha misconstrues the nature of the claims against her.

In a civil conspiracy claim, a defendant Who understands the general objectives of the
conspiratorial scheme, accepts them, and agrees, either explicitly or implicitly to do its part to
further those objectives, is liable as a conspirator. Adcock v. Brakegate, Ltd., 164 Ill. 2d 54, 64,
645 N.E.2d 888, 894 (1994). Once a defendant knowingly agrees with another to commit an
unlawful act or a lawful act in an unlawful manner, that defendant may be held liable for any
tortious act committed in furtherance of the conspiracy Ia'.

In this case, Vaswani has alleged that Varsha entered into an agreement with Sunil to
misappropriate Medvalue’s business assets for their real estate business, and that they both
committed overt acts in furtherance of that objective. Cnterclm. at 1132-33. Thus, it is not
relevant Whether Varsha herself owed fiduciary duties, but rather, that she participated in a
conspiracy with Sunil to breach the duties that he owed to Medvalue.

C. The Authority Cited by Varsha Supports Vaswani’s Claim

The single case cited by Varsha actually demonstrates why dismissal is not proper in this
case, as it involved denial of a motion to dismiss filed by parties who did not themselves owe
fiduciary duties. Hojj$nan v. Szyszko, No. 94 C 2357, 1995 WL 519815, at *7 (N.D. Ill. Aug. 30,
1995).

In Hojj‘iuan, the counterplaintiff, Szyszko, was a business partner with Hoffman in a silk
screening business referred to as M&R. ln 1993, unknown to Szyszko, Hoffman went into

business with two other individuals, Oliva and Levine, to form a business, Beacon, that entered

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into transactions With M&R that were unfavorable to M&R. Oliva and Levine had no affiliation
with M&R and owed no fiduciary duties to Szyszko. ln 1993, Szysko agreed to sell his shares in
M&R to Hoff`man, not knowing that the value of M&R was suppressed due to the unfavorable
transactions with Beacon.

Among other claims, Szyzszko filed a count for civil conspiracy against Hoffman, Oliva,
Levine and Beacon. Just as V. Bhatia argues in this case, Oliva, Levine and Beacon sought
dismissal on the grounds that they owed no fiduciary duties. Id.

The court denied the motion to dismiss, citing, among other authorities, Singh v. Curry,
667 F.Supp. 603, 607 (N.D.lll.1987). The court found that Szyszko had stated a claim for breach
of fiduciary duty, noting that a conspiracy “involves a combination of two or more persons for
the purpose of accomplishing through concerted action, either an illegal object or a legal object
by an illegal means.” Id. The court discussed Singh, in which the plaintiff had properly alleged
that his attorney and others (who owed no fiduciary duties) had conspired to cause the attorney to
breach his fiduciary duties to the plaintiff Id. The court noted that having alleged that “Hoffman,
Oliva, Levine, and Beacon entered into a conspiracy to cause Hoffman to breach his fiduciary
duty to Szyszko”, the plaintiff properly pled a claim for conspiracy.

Thus, Hojj$nan actually stands for the direct opposite proposition than the one V. Bhatia
advances. Indeed, the holding in Hoyj$nan directly demonstrates that it is not necessary that all
members of the conspiracy owe fiduciary duties themselves - only that one of them does owe
such duties, and that they conspire to cause that person to breach those duties.

Given the fact that the only case she has cited actually shows why Count II does state a

cause of action against her, V. Bhatia’s Motion to Dismiss Count II must be denied.

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III. CONCLUSION

For each of the reasons stated herein, Vaswani respectfully requests that this Honorable

Court deny the Motion to Dismiss filed by Varsha Bhatia, and award him such other and further

relief as is equitable and just.

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Respectfully submitted,

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CERTIFICATE OF FILING AND SERVICE

1, Thomas A. Christensen, certify as follows under penalty of perjury this 16th day of

August, 201 81

1. 1 filed Raju Vaswani's Response to Varsha Bhatia’s Motz'on to Dismiss

Counterclaim and Third Parzy Complaint by filing it with the Clerk of the Court via electronic

means on August 16, 2018.

2. 1 served Raju Vaswani'S Response to Varsha Bhatia ’s Motion to Dismiss
Counterclaim and Third Party Complaint by filing it with the Clerk of the Court via electronic

means, which electronic filing constitutes service by virtue of local rule 5 .9.

/s/ Thomas A. Christensen

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